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     AO 442 (Rev 1111I) Arrest Warrant




                                                                       UNITED STATES DISTRICT COURT
                                                                                                          for the

                                                                                               District of Columbia

                                  United States of America
                                                                 v.                                        )         Case: 1:21-mj-00294
                                                                                                           )         Assigned To : Harvey, G. Michael
                                     Mark Roger Rebegila
                                                                                                           )         Assign. Date: 3/10/2021
                                                                                                           )
                                                                                                                     Description: Complaint wI Arrest Warrant
                                                                                                           )
                                                                                                           )
                                                           Defendant


                                                                                          ARREST WARRANT
 To:          Any authorized law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person 10 he arrested)                                  Mark Rouer Rebeuila
 who is accused of an offense or violation based on the following document filed with the court:

o      Indictment                                     o        Superseding Indictment           o Information           o   Superseding Infonnation              N Complaint
o      Probation Violation Petition                                       o      Supervised Release Violation Petition            o Violation     Notice         0 Order of the Court
This offense is briefly described as follows:

 18 U.S.C. § I 752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
 Lawful Authority;
 40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds.



                                                                                                                                                 Digitally signed by G. Michael
                                                                                                                                                 Harvey
Date: __           0"",3,-,-1-,-,IO"-,,/2=0,-,,,2'-'..1   __                                                                                     Date: 2021.03.10 11:02:52 -05'00'

                                                                                                                                   Issuing officer's signature

City and state:                                                  Washington, D.C.                                    G. Michael Harvey, U.S. Magistrate Judge
                                                                                                                                     Printed name and title


                                                                                                      Return

            This warrant was received on                                  (date)     :3 flO P_O')'_l __        , and the person was arrested on (date)        3/15 '/.-0 Z.(
at   (city and state)                 LOt'I< a...,                      {<::-s
                                        I
Date:       3  fS foOA (
